                      Case 1:03-md-01570-GBD-SN Document 9298-1 Filed 08/16/23 Page 1 of 1

                                                                Ex. A-1
                         Alexander Jimenez, et al. v. Islamic Republic of Iran, No. 1:18-cv-11875 (GBD) (SN)

                                            (Alphabetically by Last Name of 9/11 Decedent)

                      DECEDENT                                PLAINTIFF                            Relationship   SOLATIUM
         DECEDENT                 DECEDENT       PLAINTIFF                PLAINTIFF    PLAINTIFF
                       Middle                                  Middle                                to 9/11      DAMAGES
         First Name               Last Name      First Name               Last Name      Suffix
                        Name                                    Name                                Decedent       AMOUNT
                                                                                                     Parent
    1.      Gene                    Maloy         Merlyn                    Maloy                                  $8,500,000.00
                                                                                                   (Deceased)


         TOTAL                                                                                                     $8,500,000.00




docs-100624757.1
